         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA               )
                                       )
                                       )
                 VS.                   )            ORDER
                                       )
                                       )
TAMARA VARNADO                         )
                                       )


     THIS MATTER is before the Court on the Defendant’s motion to

correct the Defendant’s Judgment pursuant to Fed. R. Crim. P. 36. The

Government has not filed response to the Defendant’s motion and the time

for doing so has expired.

     While the Court will grant the motion and add the recommendation

Defendant requests, the Defendant is advised that the Bureau of Prisons is

under no obligation to follow the Court’s recommendation.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

correct Judgment is ALLOWED, and the Clerk is directed to prepare an

amended Judgment for this Defendant to include the Court’s




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recommendation that the Defendant participate in a substance abuse

program through the Bureau of Prisons.



                                   Signed: August 11, 2009




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